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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

 GRILLO’S PICKLES, INC., a Delaware
 corporation,                                     Civil Action No. 2:23-cv-00011
                     Plaintiff,
                                                  Hon. Madeline Cox Arleo
                     v.                           Hon. André M. Espinosa
 PATRIOT PICKLE INC., a Delaware
 corporation, ARKK FOOD
 COMPANY, a Michigan corporation,
 and WAHLBURGERS I, LLC, a
 Massachusetts limited liability
 company.
                     Defendants.


 PLAINTIFF GRILLO’S PICKLES, INC.’S MEMORANDUM OF LAW IN
  SUPPORT OF APPLICATION FOR (1) AN ORDER TO SHOW CAUSE
 WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE AND (2) AN
         ORDER PERMITTING EXPEDITED DISCOVERY
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 I.    INTRODUCTION

       Defendants Patriot Pickle Inc., ARKK Food Company, and Wahlburgers I,

 LLC (collectively, “Defendants”) collectively manufacture pickles under the

 Wahlburgers name. Although Defendants’ pickle labels claim Wahlburgers

 pickles are “fresh,” “all natural,” and contain “no preservatives,” quite the opposite

 is true: Wahlburgers pickles contain substantial amounts of an artificial chemical

 preservative designed to lengthen the pickles’ shelf life.

       Unfortunately, in addition to duping customers into buying Wahlburgers

 pickles, Defendants’ false and misleading statements are also irreparably harming

 Plaintiff Grillo’s Pickles, Inc. (“Grillo’s” or “Plaintiff”). Although Grillo’s is a

 company known nationwide for producing fresh pickles that do not contain

 artificial chemical preservatives, Defendants’ false and misleading labeling causes

 consumers and grocery store buyers seeking artificial-chemical-preservative-free

 pickles to purchase and stock Wahlburgers pickles to the detriment of Grillo’s

 sales, allotted shelf space, market share, and goodwill.

       This harm is amplified by the fact that Defendants created Wahlburgers

 pickles to mirror Grillo’s as closely as possible: Wahlburgers pickles (1) are

 formulated to taste nearly identical to Grillo’s pickles; (2) use similar naming

 conventions as Grillo’s pickles; (3) contain the same nutritional fact panels as

 Grillo’s pickles; and (4) are packaged in plastic jars that are nearly identical to




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 Grillo’s. Not only does this increase the amount of sales, shelf space, and market

 share Defendants divert from Grillo’s, but it also causes many consumers to

 mistakenly believe Wahlburgers pickles are actually manufactured by Grillo’s,

 thus damaging Grillo’s goodwill.

       In short, Defendants should not be permitted to compete unfairly by duping

 customers and grocery store buyers in violation of the Lanham Act and common

 law. Thus, Grillo’s respectively requests the Court order expedited discovery and

 issue a preliminary injunction: (1) enjoining Defendants from making false and

 misleading statements claiming that Wahlburgers pickles contain “no

 preservatives,” are “all natural,” or are “fresh”; and (2) ordering Defendants to

 include the name of the artificial chemical preservative they are using in

 Wahlburgers pickles as an ingredient on the pickles’ labels and describe it as a

 “chemical preservative.” Alternatively, Grillo’s requests the Court enjoin

 Defendants from selling Wahlburgers pickles that contain any artificial chemical

 preservatives.

 II.   STATEMENT OF RELEVANT FACTS

       A.     Background on Grillo’s Pickles

       Grillo’s is a pickle company founded by Travis Grillo in 2008 when he

 began selling pickles using his grandfather’s 100-year-old recipe out of a hand-

 built wooden cart on the streets of Boston. (Compl. ¶ 7.) Since then, Grillo’s has




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 evolved into a nationwide brand known for producing fresh pickles that do not

 contain artificial chemical preservatives. (Id. ¶ 21.) Customers choose Grillo’s

 because they know that when they purchase Grillo’s pickles, they are purchasing

 fresh pickles free from artificial chemical preservatives. (Id.) Additionally,

 retailers, cognizant of many consumers’ preference for clean foods with clean

 labels, choose to stock Grillo’s over other brands because retailers know Grillo’s

 pickles are fresh and free from artificial chemical preservatives. (Id.)

        B.    Background on Defendants

        Defendant Patriot Pickle Inc. (“Patriot”) is a pickle manufacturer. (Compl. ¶

 22.) A substantial amount of Patriot’s business involves “co-packing,” a practice

 in which one company (the co-packer) contracts to manufacture, package, label,

 and ship food brands owned by others. (Id.) As is relevant here, Patriot is a co-

 packer for Defendant ARKK Food Company (“ARKK”) and Defendant

 Wahlburgers I, LLC (“Wahlburgers”). (Id.) In its capacity as such, Patriot

 manufactures, packages, labels, and ships Wahlburgers pickles from Patriot’s

 facility in Wayne, New Jersey on behalf of ARKK and Wahlburgers. (Id. ¶¶ 8,

 22.)

        Defendant ARKK is the distributor for Wahlburgers pickles, is the exclusive

 licensee of Wahlburgers’ retail products, and controls the entire line of

 Wahlburgers retail products, including Wahlburgers pickles’ recipes and labeling.




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 (Fuoco Decl. ¶¶ 4, 6, Ex. C; see id. ¶¶ 2-3, 5, Exs. A, B, D.) ARKK, upon

 information and belief, engaged Patriot to manufacture, package, label, and ship

 Wahlburgers pickles on ARKK’s behalf. (Id.; Compl. ¶ 9.) On information and

 belief, ARKK also selected and approved the recipe for Wahlburgers pickles

 jointly with Patriot, and ARKK and Patriot jointly created the labels for

 Wahlburgers pickles. (Id.)

       Defendant Wahlburgers I, LLC is the owner of the Wahlburgers trademarks

 that appear on Wahlburgers pickle labels and has licensed these trademarks to

 ARKK. (Fuoco Decl. ¶ 8, Ex. F.) Upon information and belief, Wahlburgers I,

 LLC has control over the Wahlburgers pickles’ recipes and labeling as the licensor

 of the Wahlburgers trademarks and by virtue of its contractual relationship with

 ARKK. (Fuoco Decl. ¶¶ 6-8, Ex. F.)

       C.     Defendants ARKK and Patriot Are the Apparent Agents of
              Wahlburgers I, LLC
       Both ARKK and Patriot are the apparent agents of Wahlburgers I, LLC, and

 thus Wahlburgers I, LLC is liable for their misrepresentations regarding

 Wahlburgers pickles. See AT&T v. Winback & Conserve Program, Inc., 42 F.3d

 1421, 1440 (3d Cir. 1994). Under the doctrine of apparent agency, a principal is

 liable for its apparent agent’s torts against third parties when “the principal is

 responsible for the third person believing that the person with whom she deals is an

 agent, or if the principal should realize that his conduct is likely to induce such



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 belief[.]” Id. at 1439. For instance, in AT&T v. Winback & Conserve Program,

 the Third Circuit held a principal telecommunications service reseller could be

 liable under the Lanham Act for its independent sales agents’ misrepresentations

 when “[the principal] authorized its sales agents to conduct transactions as though

 they were [the principal,]” and “third parties reasonably relied on that relationship

 in deciding to enter into contracts[.]” Id. at 1440 (“[The principal] held its

 representatives out to the public as its servants or as itself, and that the third parties

 reasonably relied on that relationship in deciding to enter into contracts”).

       Similarly here, although Wahlburgers pickles are manufactured, packaged,

 labeled, and distributed by a combination of Patriot and ARKK (Fuoco Decl. ¶¶ 4,

 6, Ex. C; see id. ¶¶ 2-3, 5, Exs. A, B. D), Wahlburgers pickles are held out to the

 public as being manufactured, packaged, and labeled by or on behalf of

 Wahlburgers I, LLC. For instance, Wahlburgers pickle containers are covered

 with trademarks owned by Wahlburgers I, LLC; a substantial portion of

 Wahlburgers I, LLC’s name (i.e., “Wahlburgers”) appears prominently on the

 Wahlburgers pickle labels and in the pickles’ names; and pictures of the Wahlberg

 family, members of which control Wahlburgers I, LLC, are a central feature of the

 Wahlburgers pickle labels. (Fuoco Decl. ¶¶ 7-9, Exs. E-G.)

       Patriot, meanwhile, is mentioned nowhere on Wahlburgers pickles’

 packaging. (Fuoco Decl. Ex. G.) Moreover, ARKK is identified only as the




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 distributor, and the Wahlburgers pickle labels state that ARKK is distributing the

 pickles only “under license of Wahlburgers, LLC.” (Fuoco Decl. ¶¶ 6, 9, Ex. G.)

 This is despite the fact that, upon information and belief, ARKK controls the entire

 line of Wahlburgers’ retail products. (Fuoco Decl. ¶¶ 4, 6, Ex. C; see id. ¶¶ 2-3, 5,

 Exs. A, B. D.) Upon information and belief, Wahlburgers I, LLC is aware of the

 appearance and statements made on the Wahlburgers pickle labels and has

 permitted and authorized ARKK and Patriot to continue selling Wahlburgers

 pickles in the manner described supra. (Fuoco Decl. 6, 8, Ex. F.)

       Thus, given the appearance of Wahlburgers pickle labels, customers

 reasonably believe the pickles are being offered by Wahlburgers I, LLC and

 reasonably rely thereon when purchasing Wahlburgers pickles. (Compl. ¶ 15).

 Accordingly, ARKK and Patriot are the apparent agents of Wahlburgers I, LLC,

 and Wahlburgers I, LLC is liable for their misrepresentations regarding

 Wahlburgers pickles.

       D.     Grillo’s Relationship with Patriot

       In or around 2014, Grillo’s engaged Patriot as one of the co-packers for

 Grillo’s pickles. (Compl. ¶ 23.) To enable Patriot to manufacture and package

 Grillo’s pickles, Grillo’s trusted Patriot with Grillo’s proprietary pickle recipes and

 manufacturing and packaging processes to produce pickles that do not contain

 artificial chemical preservatives while maintaining a lengthy shelf life. (Id.)




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 Patriot continued as one of Grillo’s co-packers from 2014 until the summer of

 2021, at which time Grillo’s ended its relationship with Patriot. (Id. ¶ 24.)

 Accordingly, in 2014, Patriot obtained access to and had full knowledge of Grillo’s

 proprietary recipes and processes, and at all times from 2014 through the end of

 Grillo’s and Patriot’s relationship, Patriot had full knowledge of Grillo’s

 proprietary pickle making recipes and processes. (Id. ¶ 23.)

       E.     Wahlburgers Pickles Are Co-Packed By Patriot

       In or before the spring of 2021, Patriot started producing and shipping

 Wahlburgers pickles on behalf of ARKK and Wahlburgers I, LLC. (Compl. ¶ 25.)

 Patriot co-packs three types of pickles for Wahlburgers: “Wahlburgers Fresh Dill

 Spears,” “Wahlburgers Fresh Dill Chips,” and “Wahlburgers Fresh Dill Chips Hot”

 (Id. ¶¶ 26-28):




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       Wahlburgers Fresh Dill Spears (Fuoco Decl. Ex. G at 1-3):

         Front                    Side                      Top




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 Wahlburgers Fresh Dill Chips (Id. at 4-6):

          Front                      Side                        Top




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       Wahlburgers Fresh Dill Chips Hot (Id. at 7-9):

        Front                        Side                           Top




       As shown supra, each of the labels for Wahlburgers Fresh Dill Spears,

 Wahlburgers Fresh Dill Chips, and Wahlburgers Fresh Dill Chips Hot inform

 customers that the pickles have “no preservatives” and are “all natural.” (Fuoco

 Decl. Ex. G at 2, 5, 8.) The labels do not list any artificial preservatives as

 ingredients and instruct customers to “keep [the pickles] refrigerated.” (Id.) The

 labels also all prominently feature the word “FRESH” in all capitals as the first




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 word in their names, which are printed multiple times on their labels. (Id. at 1, 3-7,

 9.)

        Additionally, Wahlburgers pickles taste extremely similar to Grillo’s, while

 using the same containers, the same naming conventions, and the same nutritional

 fact panels. (Compl. ¶ 25.) Wahlburgers pickles are also sold in the same

 refrigerated sections of many of the same stores as Grillo’s and other brands that

 are fresh, all natural, and do not contain artificial preservatives. (Id. ¶¶ 25, 32, 38.)

        However, despite the labels on Wahlburgers pickles stating they, inter alia,

 are “fresh,” contain “no preservatives,” and are “all natural,” testing performed by

 Biogen Laboratory Developments reveals the opposite is true: Wahlburgers pickles

 contain substantial amounts of benzoic acid, which is often added into foods via

 sodium benzoate, an artificial chemical preservative designed to lengthen the

 pickles’ shelf life. (Kahl Decl. ¶¶ 5-11.) In fact, certificates of analysis from

 Biogen’s testing indicate1 Wahlburgers Hot Dill Chips contain sodium benzoate in

 a concentration of 641 parts per million; Wahlburgers Dill Spears pickles contain

 sodium benzoate in a concentration of between 424 and 436 parts per million; and




 1 Biogen’s tests revealed the amounts of benzoic acid indicated on Exhibits A and B to the Kahl
 Declaration, and the data gathered by Biogen strongly suggest the benzoic acid was intentionally
 added to the pickles via sodium benzoate, an artificial chemical preservative. (Kahl Decl. ¶¶ 5-
 11.)




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 Wahlburgers Dill Chips contain sodium benzoate in a concentration of 600 parts

 per million. (Kahl Decl. ¶¶ 6-8, 10; id. Exs. A, B.)

        For the reasons disused infra, Defendants’ pickles label statements have

 caused Grillo’s irreparable harm and will continue to do so absent a preliminary

 injunction.

 III.   ARGUMENT

        Grillo’s satisfies all elements necessary for this Court to issue a preliminary

 injunction enjoining Defendants from continuing their false and misleading

 advertising. In the absence of immediate injunctive relief, Defendants’ Lanham

 Act and common law violations will continue, and the irreparable harm to Grillo’s

 will proceed unabated.

        A.     Legal Standard

        Under the Lanham Act, an injunction is the “usual and standard remedy[.]”

 Bracco Diagnostics, Inc. v. Amersham Health, Inc., 627 F. Supp. 2d 384, 479

 (D.N.J. 2009). To obtain preliminary injunctive relief, a plaintiff usually must

 establish (1) a reasonable probability of eventual success on the merits of its

 underlying claims and (2) that it will be irreparably injured in the absence of

 preliminary relief. See Reilly v. City of Harrisburg, 858 F.3d 173, 176 (3d Cir.

 2017). However, in the Lanham Act context, this hurdle is lowered significantly:

 Once a plaintiff has shown “a likelihood of success on the merits,” the plaintiff is




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 “entitled to a rebuttable presumption of irreparable harm[.]” 15 U.S.C. § 1116(a)

 (effective December 18, 2021). After the plaintiff makes this showing, the Court

 considers whether the balance of equities and the public interest weigh in favor of

 granting relief. Reilly, 858 F.3d at 179. If “all four factors, taken together, balance

 in favor of granting the requested preliminary relief,” it is proper to grant it. Durel

 B. v. Decker, 455 F. Supp. 3d 99, 106 (D.N.J. 2020).

       Here, for the reasons discussed infra, all four factors weigh in favor of

 granting Grillo’s requested preliminary injunction.

       B.     Grillo’s Will Likely Succeed on the Merits of Each of its Claims
       Grillo’s will likely succeed on the merits of both its Lanham Act claim and

 common law unfair competition claim.

              1.     Defendants’ Advertising Violates the Lanham Act
       The Lanham Act imposes civil liability on any person who “uses in

 commerce any . . . false or misleading description of fact, or false or misleading

 representation of fact, which . . . misrepresents the nature, characteristics, qualities,

 or geographic origin of his or her or another person’s goods, services, or

 commercial activities.” POM Wonderful LLC v. Coca-Cola Co., 573 U.S. 102,

 107-108 (quoting 15 U.S.C. §1125(a)(1)). In order to establish a violation of the

 Lanham Act, a plaintiff must demonstrate:

       (1) that the defendant has made false or misleading statements as to
       his own product [or another’s]; (2) that there is actual deception or at



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       least a tendency to deceive a substantial portion of the intended
       audience; (3) that the deception is material in that it is likely to
       influence purchasing decisions; (4) that the advertised goods traveled
       in interstate commerce; and (5) that there is a likelihood of injury to
       the plaintiff in terms of declining sales, loss of good will, etc.

 Pernod Ricard USA, LLC v. Bacardi U.S.A., Inc., 653 F.3d 241, 248 (3d Cir.

 2011). However, “[w]hen a merchandising statement or representation is literally

 or explicitly false, the court may grant relief without reference to the

 advertisement’s impact on the buying public.” Castrol, Inc. v. Pennzoil Co., 987

 F.2d 939, 943 (3d Cir. 1993). This means that when a statement is literally false,

 the second element—actual deception or a tendency to deceive—is presumed.

 Pernod Ricard USA, 653 F.3d at 248. Similarly, in the context of injunctive relief,

 when a statement is literally false, the third element—materiality—is also

 presumed. Newborn Bros. Co., Inc. v. Albion Eng’g Co., 481 F. Supp. 3d 312, 356

 (D.N.J. 2020).

       Notably, claims based on competitors’ labeling misstatements, including

 those in the current action regarding preservatives, fall squarely within the Lanham

 Act. POM Wonderful, 573 U.S. at 106 (“Competitors, in their own interest, may

 bring Lanham Act claims like POM’s that challenge food and beverage labels that

 are regulated by the FDCA.”); Fresh Del Monte Produce Inc. v. Del Monte Foods

 Co., 933 F. Supp. 2d 655, 659 (S.D.N.Y. 2013) (granting an injunction based on a

 jury finding that defendant’s “labels communicat[ed] the false message that




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 refrigeration of the product was required and fail[ed] to communicate that the

 product contain[ed] preservatives or [was] pasteurized, in combination with

 placing the products next to similar fresh fruit products on refrigerated shelves in

 the fresh produce section of supermarkets”).

       Here, for following reasons, Grillo’s can show each of the elements required

 for its Lanham Act claim and thus is likely to prevail on the merits.

                      (a)   Defendants have made false and misleading statements
                            about Wahlburgers Pickles
       The first element of Grillo’s Lanham Act claim, that Defendants “ha[ve]

 made false or misleading statements as to [their] own product,” is satisfied here.

 Canfield Sci., Inc. v. Melanoscan, LLC, Civ. No. 16-4636, 2017 WL 2304644, at

 *8 (D.N.J. May 25, 2017). Specifically, Defendants “have made false or

 misleading statements as to” Wahlburgers pickles by:

       • Stating Wahlburgers pickles have “no preservatives” (Fuoco Decl. Ex. G

           at 2, 5, 8);

       • Stating Wahlburgers pickles are “all natural” (id.);

       • Stating Wahlburgers pickles are “fresh” (id. at 1, 3-7, 9); and

       • Failing to list the name of the artificial chemical preservative used in

           Wahlburgers pickles on their ingredient lists even though it is required to

           be listed and described as a preservative. (Fuoco Decl. Ex. G; 21 U.S.C.

           § 343(k) (stating a food is misbranded if it contains “chemical



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           preservative, unless it bears labeling stating that fact”); 21 C.F.R. §

           101.22(j) (“A food to which a chemical preservative(s) is added shall,

           except when exempt pursuant to § 101.100 bear a label declaration

           stating both the common or usual name of the ingredient(s) and a

           separate description of its function, e.g., ‘preservative’”).)

       These statements on Defendants’ labels are not only “false and misleading”

 but are “literally or explicitly false.” See Castrol, Inc., 987 F.2d at 943. Biogen’s

 testing indicates that Defendants’ Fresh Dill Chips Hot pickles contain sodium

 benzoate in a concentration of 641 parts per million; Defendants’ Fresh Dill Spears

 pickles contain sodium benzoate in a concentration of between 424 and 436 parts

 per million; and Defendants’ Fresh Dill Chips pickles contain sodium benzoate in a

 concentration of 600 parts per million. (Kahl Decl. ¶¶ 6-8, 10; id. Exs. A, B.)

 Sodium benzoate is an artificial preservative. (Kahl Decl. ¶ 11.) It is described by

 the Code of Federal Regulations as an “antimicrobial agent,” 21 C.F.R. §

 184.1733(c), which the code defines as “substances used to preserve food by

 preventing growth of microorganism and subsequent spoilage, . . . and the effects

 listed by the National Academy of Sciences/Natural Research Council under

 ‘preservatives,’” 21 C.F.R. § 170.3(o)(2). Accordingly, Defendants’ statement that

 Wahlburgers pickles contain “no preservatives” is literally and explicitly false

 because the pickles contain an artificial chemical preservative.




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       Defendants’ statement that Wahlburgers pickles are “all natural” is also

 literally and explicitly false. Sodium benzoate is an artificial chemical

 preservative, and the Federal Code of Regulations notes sodium benzoate is “not

 found to occur naturally.” 21 C.F.R. § 184.173(a). Thus, the presence of sodium

 benzoate in Wahlburgers pickles means the pickles are not “all natural.”

       Defendants’ statement that Wahlburgers pickles are “fresh” is also literally

 and explicitly false. “Fresh” products do not contain artificial chemical

 preservatives, and thus because Wahlburgers pickles contain an artificial chemical

 preservative, they are not “fresh.” See 21 C.F.R. § 101.95(a) (stating term “fresh”

 can be used when food “has not been frozen or subjected to any form of thermal

 processing or any other form of preservation”).

       Further, Defendants’ omission of the name of the artificial chemical

 preservative used in Wahlburgers pickles from their ingredient lists renders the

 ingredient lists “literally and explicitly false.” Inaccurate statements regarding

 ingredients are actionable under the Lanham Act and are “literally false.” See

 Schering-Plough Healthcare Prods, Inc. v. Neutrogena Corp., Civ. No. 09-642-

 SLR, 2010 WL 1992247, at *3-4 (D. Del. May 18, 2010) (finding that statement on

 a sunscreen product’s that the product include an ingredient called “Helioplex” on

 its labels, when it did not, in fact, contain such an ingredient, was a literally false

 statement).




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       Unsurprisingly, Courts have routinely found similar labels false and

 misleading under the Lanham Act. For instance, in Fresh Del Monte Produce, the

 court granted injunctive relief based on Defendants’ false labeling that a fruit

 product needed to be refrigerated. 933 F. Supp. 2d at 659. The jury found

 Defendants’ labels communicated “the false message that refrigeration of the

 product was required” and failed to communicate that the product contained

 preservatives or was pasteurized. Id.; see also Novartis Consumer Health, Inc. v.

 Johnson & Johnson-Merck Consumer Pharms. Co., 290 F.3d 578, 589 (3d Cir.

 2002) (statement that antacid had “Night Time Strength” led to necessary

 conclusion that antacid had been formulated to treat night-time-specific symptoms;

 this was literally false because antacid had no difference from regular use antacid

 that made it formulated to treat night-time symptoms specifically); Warner-

 Lambert Co. v. Breathasure, Inc., 204 F.3d 87, 90-91 (3d Cir. 2000) (statements

 promising efficacy of swallow-able capsule to cure bad breath were literally false

 when plaintiff adduced evidence that capsules had no effect on bad breath);

 Castrol Inc., 987 F.2d at 943-945 (statements that oil “viscosity breakdown” drives

 engine performance and that defendant’s oil “outperformed” other brands in oil

 viscosity breakdown led to the necessary conclusion that defendant’s oil

 outperformed other brands; this was literally false because defendant had no

 factual basis to make such comparison).




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       Thus, there is no question that the first element of Grillo’s Lanham Act

 claim—that Defendants have made false statements about their products—is

 satisfied.

                     (b)    Because Defendants’ statements are literally and
                            explicitly false, a tendency to deceive, actual deception,
                            and materiality are presumed.
       Because Defendants’ statements are “literally and explicitly false,” the

 second and third elements of Grillo’s Lanham Act false advertising claim—that

 “there is actual deception or at least a tendency to deceive a substantial portion of

 the intended audience” and “that the deception is material in that it is likely to

 influence purchasing decisions”—are presumed for the purposes of injunctive

 relief. Castrol, Inc., 987 F.2d at 943; Warner-Lambert Co., 204 F.3d at 97 (3d Cir.

 2000) (“[T]here seems to be no requirement that purchasers actually be deceived,

 but only that the false advertisements have a tendency to deceive”); Bracco

 Diagnostics, Inc., 627 F. Supp. 2d at 424 (“[B]ecause I find that some of

 [Defendant’s] claims are literally false, . . . there is a presumption of materiality

 and deception.”).

       Nevertheless, even absent such a presumption, it is clear customers are likely

 to be, and actually have been, deceived by Defendants’ false and misleading

 statements. Defendants falsely state on their pickle labels that Wahlburgers pickles

 have “no preservatives,” are “fresh,” and are “all natural,” and the labels omit the



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 name of the artificial chemical preservative used in Wahlburgers pickles from their

 ingredient lists. (Fuoco Decl. Ex. G.) Wahlburgers pickles also taste extremely

 similar to Grillo’s and use the same containers, same naming conventions, and

 same nutritional fact panels as Grillo’s, which is known nationwide for producing

 fresh pickles that are free from artificial chemical preservatives. (Compl. ¶¶ 21,

 25.) Further, Wahlburgers pickles are sold in the refrigerated section of grocery

 stores, often alongside other brands, such as Grillo’s, that are actually fresh, all

 natural, and do not contain artificial preservatives. (Id. ¶ 32.) Taken together,

 there is no question that customers are likely to be, and have been, deceived by

 Defendants’ (1) false and misleading statements that Wahlburgers pickles have “no

 preservatives,” are “fresh,” and are “all natural” and (2) false and misleading

 failure to list the artificial chemical preservative used in Wahlburgers pickles on

 their ingredient lists.

        Additionally, customers’ purchasing decisions are likely to be, and actually

 have been, influenced by Defendants’ false and misleading statements. Many

 customers and grocery store buyers prefer foods that are “fresh,” “all natural,” and

 free from artificial chemical preservatives over foods that are not. (Id. ¶ 51; Fuoco

 Decl. ¶¶ 15-17, Ex. J at 3, 5; Ex. K at 12, 25; Ex. L at 3, 5.) And, when given the

 choice, customers opt to purchase foods that are “fresh,” “all natural,” and free

 from of artificial chemical preservatives. (Id.) Additionally, a large cross section




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 of customers, particularly those that are a part of the “real food” or “clean labeling”

 movements, will not consider purchasing products that contain artificial

 preservatives. (Compl. ¶ 45.) And, grocery buyers for stores that serve these

 customers similarly prefer to stock foods that are “fresh,” “all natural,” and free

 from artificial chemical preservatives. (Id.) In short, whether foods are free from

 artificial chemical preservatives, and hence “fresh” and “all natural,” is an

 important consideration, and often a necessary criteria, for many customers and

 grocery buyers when deciding what foods to purchase. (Id. ¶¶ 45, 51; Fuoco Decl.

 ¶¶ 15-17, Ex. J at 3, 5; Ex. K at 12, 25; Ex. L at 3, 5.) Thus, there is no question

 that Defendants’ false and misleading “fresh,” “all natural,” and “no preservatives”

 statements are likely to, and actually have, influenced customers’ purchasing

 decisions.

       Accordingly, even though the second and third Lanham Act elements

 (customer deception and materiality) are presumed and need not be shown by

 Grillo’s to obtain a preliminary injunction, there is no question that customers have

 been deceived and that their purchasing decisions have been influenced by

 Defendants’ false and misleading statements.

                     (c)   Defendants’ products traveled in interstate commerce.
       The fourth element of Grillo’s Lanham Act claim, that Defendants’ pickles

 were advertised and traveled in interstate commerce, is also satisfied here.




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 Advertising a product that travels through interstate commerce suffices to satisfy

 this element of a Lanham Act claim. GlaxoSmithKline LLC v. Boehringer

 Ingelheim Pharms., Inc., 484 F. Supp. 3d 207, 225 (E.D. Pa. 2020) (citing U.S.

 Healthcare, Inc. v. Blue Cross of Greater Phila., 898 F.2d 914, 922 (3d Cir.

 1990)). Defendants’ pickles are packaged in New Jersey and are advertised and

 sold nationwide, including at stores like Walmart and online through delivery

 services like Instacart. (Compl. ¶¶ 39-40.) Therefore, this element is satisfied.

                     (d)    Grillo’s is likely to be harmed, and has been harmed, by
                            Defendants’ false and misleading statements
       The fifth and final element of Grillo’s Lanham Act claim—“that there is a

 likelihood of injury to the plaintiff in terms of declining sales, loss of good will,

 etc.”—is also satisfied here. A false-advertising plaintiff is harmed by “economic

 or reputational injury flowing directly from the deception wrought by the

 defendant’s advertising; and that occurs when deception of consumers causes them

 to withhold trade from the plaintiff.” Lexmark Int’l v. Static Control Components,

 Inc., 572 U.S. 118, 133 (2014). Importantly, Grillo’s is not required to point to

 specific instances of individualized loss of sales to meet this element. See U.S.

 Healthcare, Inc., 898 F.2d at 922 (holding that individualization of loss of sales not

 required to establish Lanham Act liability; “such proof goes to quantum of

 damages and not the very right to recover”).




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        Here, Defendants’ false and misleading statements have harmed Grillo’s by

 virtue of diverted sales, lost shelf space, lost market share, and damaged goodwill

 that, but for Defendants’ false and misleading statements, Grillo’s would have

 retained or earned. (Compl. ¶ 37.)

                               (i)     Diverted sales, lost shelf space, and lost market
                                       share
        Here, Grillo’s has been harmed, and will continue to be harmed, because

 Defendants are diverting sales, shelf space, and market share away from Grillo’s to

 Wahlburgers. (Compl. ¶ 37.) Grillo’s and Wahlburgers pickles are in direct

 competition in the fresh pickle market, and there are few, if any, other fresh pickle

 brands with the same national reach and recognition as Grillo’s and Wahlburgers.

 (Id. ¶ 38.) Wahlburgers pickles also taste extremely similar to Grillo’s, and

 Wahlburgers uses the same containers, same naming conventions, and same

 nutritional fact panels as Grillo’s. (Id. ¶ 25.) Grillo’s and Wahlburgers pickles are

 also described similarly,2 and Grillo’s and Wahlburgers are often offered for sale

 next to each other in the same grocery stores’ refrigerated sections and on the same



 2  Grillo’s pickle labels state they are “fresh,” and Grillo’s website states, among other things,
 that its pickles have “zero artificial preservatives.” (Compl. ¶ 42.) Similarly, Wahlburgers
 pickle labels state Wahlburgers pickles are “fresh,” have “no preservatives,” and are “all
 natural.” (Fuoco Decl. Ex. G.) Grillo’s pickle labels instruct the consumer to “keep [the pickles]
 refrigerated,” and no artificial chemical preservatives are listed on the ingredient list. (Compl. ¶
 42.) Similarly, Wahlburgers labels also instruct consumers to “keep [the pickles] refrigerated,”
 and no preservatives are listed on the ingredient lists. (Fuoco Decl. Ex. G at 2, 5, 8.)




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 online shopping platforms. (Id. ¶¶ 38-40.) For instance, when some customers

 search for “fresh pickles” at Walmart via the grocery shopping app Instacart,

 Wahlburgers pickles and Grillo’s pickles show up as the first results:




 (Fuoco Decl. ¶ 10, Ex. H.) Additionally, when some customers search for “pickles

 no preservatives,” Wahlburgers pickles and Grillo’s pickles again show up as the

 first results:




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 (Fuoco Decl. ¶ 11, Ex. I.)

       However, unlike Grillo’s, lab testing reveals Wahlburgers pickles are not

 actually fresh, natural, or free of preservatives. (Kahl Decl. ¶¶ 5-11; id. Exs. A, B.)

 Thus, instead of competing fairly by actually producing fresh, artificial-

 preservative-free pickles, Wahlburgers pickles’ entire ability to compete in the

 fresh, artificial-chemical-preservative-free pickle market is predicated upon

 Defendants’ false statements that Wahlburgers pickles are “fresh,” have “no

 preservatives,” and are “all natural.” (Fuoco Decl. Ex. G.) Accordingly, any sales,

 shelf space, market share, or goodwill that Wahlburgers diverted from Grillo’s

 within the fresh, artificial-chemical-preservative-free pickle market would not have

 occurred but for Defendants’ false and misleading statements.

       Additionally, upon information and belief, Wahlburgers’ clandestine

 addition of an artificial chemical preservative to its pickles and the effects thereof




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 afford Wahlburgers pickles a longer shelf life than fresh pickles (Kahl Decl. ¶ 11;

 Compl. ¶ 43) and allow Defendants to hold inventory longer than they otherwise

 would be able to hold fresh pickles (Compl. ¶ 43). This artificially enhanced shelf

 life and ability to hold inventory longer affords Defendants a competitive

 advantage that is not available to companies that produce fresh pickles, such as

 Grillo’s. (Id.) Thus, customers shopping for fresh pickles and grocery store

 buyers seeking to stock their shelves with fresh pickles have, at times, chosen

 Wahlburgers over Grillo’s pickles based on the fact that Wahlburgers pickles have

 an artificially lengthy shelf life combined with the false understanding that

 Wahlburgers is a fresh pickle (i.e. does not contain an artificial chemical

 preservative). (Id. ¶ 44.) But for Wahlburgers’ false and misleading pickle label

 statements, these customers and grocery store buyers would not have chosen

 Wahlburgers and would have chosen Grillo’s instead. (Id.)

       Additionally, a large cross section of customers prefer to purchase products

 that do not contain artificial preservatives. (Id. ¶¶ 45, 51; Fuoco Decl. ¶¶ 15-17,

 Ex. J at 3, 5; Ex. K at 12, 25; Ex. L at 3, 5.) Others will not consider purchasing

 products that contain artificial preservatives. (Compl. ¶ 45.) These customers and

 grocery store buyers that serve these customers, at times, chose to purchase

 Wahlburgers pickles based on the false belief that they do not contain artificial

 preservatives. (Id.) But for Wahlburgers’ false and misleading pickle label




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 statements, these customers and grocery store buyers would not have chosen

 Wahlburgers, and many would have purchased Grillo’s instead. (Id.)

       In sum, given the direct competition between Grillo’s and Wahlburgers and

 the fact that there are few other nationwide producers of fresh pickles, it is clear

 that Grillo’s has lost and will continue to lose market share and sales due to

 Wahlburgers’ false and misleading labeling. See Warner-Lambert Co., 204 F.3d at

 96-97 (finding that plaintiff was reasonably likely to be injured from competitor’s

 false advertising because the defendant’s product’s name “falsely tells the

 consumer that he or she has assurance of fresher breath when ingesting . . .

 defendant’s capsules,” which was not true); Novartis Consumer Health, Inc., 290

 F.3d at 596 (“In a competitive industry where consumers are brand-loyal, we

 believe that loss of market share is a potential harm which cannot be redressed by a

 legal or an equitable remedy following trial”) (internal quotation marks omitted).

                           (ii)   Harm to Grillo’s Goodwill
       Defendants’ false and misleading statements also have harmed, and will

 continue to harm, Grillo’s goodwill. As discussed supra, Wahlburgers is using

 packaging and labeling extremely similar to Grillo’s, has formulated their pickles

 to taste similar to Grillo’s, use naming conventions similar to Grillo’s, and use the

 same nutrition fact panels as Grillo’s. (Compl. ¶ 34.) And, as seen by posts on

 social media, many consumers have assumed that Wahlburgers pickles are




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 manufactured by or owned by Grillo’s. (Fuoco Decl. ¶¶ 12-14.) For instance, on a

 Reddit.com thread titled “Thoughts on Wahlburgers Fresh Dill Spears,” the most

 popular comment was the following:




 (Id.) And in response to a video review of Wahlburgers pickles posted by a

 content creator on Tiktok.com, viewers made the following comments:




 (Fuoco Decl. ¶ 13.) The same content creator then created a subsequent video

 titled “Are @wahlburgersofficial pickles the same as @grillospickles???” after he




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 “got a lot of comments saying that the Wahlburgers pickles [he] just reviewed are

 the same pickles as Grillo’s.” (Id. ¶ 14.) Additionally, in response to one of the

 comments on his video, the content creator wrote, “[t]here was a lot of people that

 were convinced they were the same.” (Id.)

       Thus, because of Defendants’ deceitful conduct, consumers have assumed

 and will continue to assume Grillo’s is affiliated with Wahlburgers pickles.

 However, Grillo’s has never manufactured its pickles for another brand nor sold its

 pickles under another company’s banner, and Defendants’ conduct is thus diluting

 and harming Grillo’s brand image. (Compl. ¶ 41.) Moreover, the harm

 Defendants’ conduct risks upon Grillo’s is all the greater if consumers, who

 assume Wahlburgers pickles are manufactured by Grillo’s, discover Wahlburgers

 contain considerable amounts of an artificial chemical preservative —which goes

 against Grillo’s entire promise to consumers and ethos as a company. (Id. ¶ 21.)

 Accordingly, Grillo’s has been reputationally harmed and will continue to be

 reputationally harmed by unwanted affiliation with Wahlburgers.

       In sum, absent an injunction enjoining Defendants from continuing to make

 false and misleading statements on Wahlburgers pickle labels (or, in the

 alternative, an injunction prohibiting Defendants from including artificial

 preservatives in Wahlburgers pickles), Grillo’s will continue to suffer the above

 described harm.




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              2.    Defendants’ Advertising is False and Misleading Under New
                    Jersey Common Law
       Grillo’s has also demonstrated a likelihood of success on its unfair

 competition claim under New Jersey law. “The test of unfair competition under

 New Jersey law is identical to the test for unfair competition under § 1125 of the

 Lanham Act.” Canfield Sci., Inc., 2017 WL 2304644, at *8; see also Castrol, Inc.

 v. Pennzoil Quaker State Co., 169 F. Supp. 2d 332, 340 (D.N.J. 2001) (“It is well

 established that the test for a common law unfair competition claim under New

 Jersey law is essentially the same as under the federal Lanham Act.”) (quoting

 Birthright v. Birthright, Inc., 827 F. Supp. 1114, 1140-41 (D.N.J. 1993)). Thus, for

 the same reasons that Grillo’s has demonstrated it is likely to succeed on its

 Lanham Act claim, Grillo’s has also shown that it is likely to succeed on its New

 Jersey unfair competition claim.

       C.     Grillo’s Has Suffered and Will Continue to Suffer Irreparable
              Harm if Injunctive Relief is Not Granted
       Because Grillo’s has demonstrated that it is likely to succeed on the merits

 of its Lanham Act claim, Grillo’s is “entitled to a rebuttable presumption of

 irreparable harm[.]” See Spark DSO, LLC v. Ormco Corp., Civ. No. 21-2841,

 2022 WL 613165, at *2 (E.D. Pa. Mar. 2, 2022); 15 U.S.C. § 1116(a) (“A plaintiff

 seeking any such injunction shall be entitled to a rebuttable presumption of

 irreparable harm”). Therefore, this element is presumed satisfied.




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       However, even without the statutory rebuttable presumption of irreparable

 harm, Grillo’s can easily demonstrate it has suffered and will suffer actual,

 irreparable harm. “Irreparable injury does not require diversion of actual sales and

 it can include the loss of control of reputation, loss of trade, and loss of goodwill.”

 Newborn Bros. Co., 481 F. Supp. 3d at 359. For the reasons explained in Section

 III(B)(1)(d), supra, Grillo’s has been irreparably harmed by diversion of sales and

 loss of market share to Wahlburgers, one of the few competitors in the nationwide

 fresh pickle market. Grillo’s has also been harmed by damage to its goodwill due

 to the fact that Defendants’ conduct is diluting Grillo’s brand by causing

 consumers to think that Grillo’s and Wahlburgers are affiliated when in fact they

 are not.

       D.     The Balance of Equities Favors Grillo’s

       The “balance of equities” also tips in Grillo’s favor. As discussed supra, the

 harm to Grillo’s is substantial and irreparable: Defendants’ false and misleading

 statements have caused, and will continue to cause, Grillo’s to lose customers,

 market share, shelf space, and goodwill. Meanwhile, the harm to Defendants is

 slight. See Sweetzel, Inc. v. Hawk Hill Cookies, No. CIV.A. 95-2632, 1995 WL

 550585, at *16 (E.D. Pa. Sept. 14, 1995) (“The burden such an injunction would

 place on defendants is slight; defendants have no right to misrepresent . . . to gain a

 competitive advantage” in the market). Grillo’s is only requesting an injunction




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 that requires Defendants to truthfully advertise its products. Thus, Defendants will

 not suffer any undue prejudice from an injunction requiring them to remove false

 statements they made from the marketplace. See Novartis Consumer Health, Inc.,

 290 F.3d at 598 (affirming district court’s finding that “any financial loss that will

 be suffered by [defendant] as a result [of its violative conduct] is self-imposed”);

 W.L. Gore & Assocs. v. Totes Inc., 788 F. Supp. 800, 812 (D. Del. 1992) (“This

 Court concludes that these claims were carelessly or irresponsibly made and that

 any ‘prejudice’ which accrues can be considered to be self-inflicted.”).

       E.     An Injunction Will Serve the Public Interest

       Finally, the public interest is decidedly served by the entry of an injunction.

 Courts have routinely held “[t]he public has a right not to be deceived or

 confused.” W.L. Gore & Assocs., 788 F. Supp. at 812; Pharmacia Corp. v.

 GlaxoSmithKline Consumer Healthcare, L.P., 292 F. Supp. 2d 594, 610 (D.N.J.

 2003) (“[T]he public interest in truthful advertising is obviously served by a

 court’s prohibition of advertising that is plainly false”) (quotation marks omitted);

 Sweetzel, Inc., 1995 WL 550585, at *16 (“[T]he public interest in fair and free

 markets is promoted by enjoining the [false and misleading misrepresentations]”).

 Thus, removing products that contain false and misleading statements from the

 shelves or prohibiting Defendants from selling those products serves the public

 interest and weighs in favor of granting Grillo’s requested injunction.




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 IV.   GRILLO’S SHOULD BE GRANTED EXPEDITED DISCOVERY

       Expedited discovery is necessary in order to discover the full extent of

 Defendants’ conduct in support of Grillo’s Motion for Preliminary Injunction.

 Rule 26(d) of the Federal Rules of Civil Procedure allows courts broad discretion

 over the discovery. See Fed. R. Civ. P. 26(d). Courts have recognized that

 expedited discovery is “particularly appropriate” where, as here, “a plaintiff seeks

 injunctive relief because of the expedited nature of injunctive proceedings.”

 Ellsworth Assocs., Inc. v. United States, 917 F. Supp. 841, 844 (D.D.C. 1996).

 Indeed, this Court has recognized that if a plaintiff’s expedited discovery requests

 are “narrowly tailored to fit the needs of a preliminary injunction hearing, leave to

 conduct expedited discovery should be granted.” Sawhorse Enter., Inc. v. Church

 & Dwight Co., Inc., Civ. No. 12-6811 (FLW), 2013 WL 1343608, at *4 (D.N.J.

 Apr. 3, 2013) (citation omitted).

       District courts in this circuit routinely find expedited discovery appropriate

 where a plaintiff seeks preliminary injunctive relief, including for claims brought

 under the Lanham Act. See, e.g., Nail Alliance, LLC v. TTN Beauty, Civ. No. 21-

 cv-3140, 2021 WL 2646989, at *4 (D.N.J. Mar. 10, 2021) (granting expedited

 discovery when plaintiff sought injunctive relief for violation of the Lanham Act);

 Exclusive Supplements, Inc. v. Abdelgawad, Civ. No. 12-1652, 2013 WL 160275,

 at *1 (W.D. Pa. Jan. 15, 2013) (granting expedited discovery related to information




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 relevant to upcoming preliminary injunction hearing on plaintiff’s Lanham Act

 claim); see also Tracey v. Recovco Mortg. Mgmt. LLC, 451 F. Supp. 3d 337, 344-

 45 (D.N.J. 2020) (granting expedited discovery and noting that it is “particularly

 appropriate when a plaintiff seeks injunctive relief because of the expedited nature

 of injunctive proceedings.”) (citation omitted).

       “Leave to conduct expedited discovery . . . is governed by the

 reasonableness standard.” Better Packages, Inc. v. Zheng, No. Civ.A. 05-4477

 (SRC), 2006 WL 1373055, at *4 (D.N.J. May 17, 2006). Under that standard, the

 Court should weigh the need for the discovery against the breadth of the discovery

 requests and the prejudice to the responding party. Id. at *3-4.

       Grillo’s requests expedited discovery here. Grillo’s requests are reasonable

 because they are narrowly tailored to address the immediacy of the current

 situation and to protect its legitimate business interests. (See Fuoco Decl. ¶¶ 18-

 20; Exs. M-O.) Specifically, Grillo’s requests the following discovery included in

 the Proposed Order attached to this Memorandum of Law:

       a.     Grillo’s may serve up to ten (10) requests for the production of

              documents upon each Defendant within five (5) days of the date of

              entry of this Order. Objections and responses to document requests,

              along with responsive documents, must be served and produced




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              within fifteen (15) days of service of the requests for production of

              documents;

       b.     Grillo’s may serve up to ten (10) interrogatories upon each Defendant

              within ten (10) days of the date each Defendant completes its

              production of documents in response to Grillo’s requests for

              production. Objections and responses must be served within fifteen

              (15) days of service of the interrogatories.

       c.     Grillo’s is granted leave to take depositions, upon seven days’ notice,

              of a corporate designee of each Defendant.

       Grillo’s requested expedited discovery is necessary because the evidence of

 Defendants’ wrongdoing is in their possession. This includes evidence of: (i)

 Defendants’ manufacturing processes for Wahlburgers’ pickles, including their use

 of an artificial chemical preservative; (ii) Defendants’ decision to falsely advertise

 their products as being “fresh,” “natural,” and free of chemical artificial

 preservatives, despite their use of an artificial chemical preservative; (iii)

 Defendants’ intent to deceive consumers about their use of an artificial chemical

 preservative; and (iv) Defendants’ intent to manufacture their pickles to look and

 taste like Grillo’s. Expedited discovery is reasonable and necessary given the

 causes of actions alleged and the substantial factual basis that already exists to

 prove Grillo’s claims.




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       Grillo’s expedited discovery requests are not overly broad. (Fuoco Decl.

 ¶¶ 18-20; Exs. M - O.) Grillo’s seeks to propound limited document requests on

 Defendants followed by targeted interrogatories and depositions of the

 representatives of Defendants with principal knowledge of the facts relevant to

 Grillo’s preliminary injunction motion. See, e.g., Nail Alliance, 2021 WL

 2646989, at *4 (granting expedited discovery consisting of ten Requests for

 Production and depositions of all defendants with seven days’ notice); Broadway

 Pine Brands LLC v. Shiro House, Civ. No. 2:21-cv-406, 2021 WL 5293528, at *7

 (W.D. Pa. March 30, 2021) (granting expedited discovery consisting of

 Interrogatories, Requests for Admissions, and Requests for Production).

       Finally, expedited discovery will not pose undue hardship for Defendants.

 Defendants have the possession, custody, and control of the information Grillo’s

 seeks and the individuals Grillo’s seeks to depose. Allowing Grillo’s to request the

 information now therefore will not only “crystallize the issues for the preliminary

 injunction hearing, but also will not be wasteful, because much of the information

 at issue would likely have been turned over anyway by Defendants soon after a

 Rule 16 conference.” Kone Corp. v. ThyssenKrupp USA, Inc., Civ. No. 11-465-

 LPS-CJB, 2011 WL 4478477, at *7 (D. Del. Sept. 26, 2011).




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 V.    CONCLUSION

       For the foregoing reasons, Grillo’s respectfully requests this Court (1) grant

 Grillo’s request for expedited discovery and (2) grant Grillo’s motion for a

 preliminary injunction and enjoin Defendants from continuing to compete unfairly

 during the pendency of this lawsuit.


  DATED: January 3, 2023                Respectfully submitted,
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